Case 20-11141-SLM      Doc 16    Filed 01/30/20 Entered 01/30/20 16:27:54              Desc Main
                                Document      Page 1 of 2



RUSSELL L. LOW, ESQ. RLL-4745
LOW & LOW, ESQS.
505 Main Street - Suite 304
                                                              Order Filed on January 30, 2020
Hackensack, New Jersey 07601                                  by Clerk,
(201) 343-4040                                                U.S. Bankruptcy Court
Attorneys for Debtor                                          District of New Jersey



______________________________________________________________________________
In Re:                        :     UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY

Reina I. Luna                      :      CHAPTER 13

                                   :      CASE NO. 20-11141

                                   :      HONORABLE STACEY L. MEISEL

Debtor                        :     Hearing Date: February 26, 2020 at 10:00 am
______________________________________________________________________________

                             BRIDGE ORDER EXTENDING

                ☐    CASE                 ✔      AUTOMATIC STAY




       The relief set forth on the following page is hereby ORDERED.



DATED: January 30, 2020
Case 20-11141-SLM         Doc 16     Filed 01/30/20 Entered 01/30/20 16:27:54         Desc Main
                                    Document      Page 2 of 2




THIS MATTER​ having been presented to the Court by the debtor, Reina I. Luna, by and

through his counsel, Russell L. Low, Esq., by ​Motion to Extend the Automatic Stay as to Mr.

Cooper and as to all creditors (​ “​Motion​”) (Docket No. 8); it is hereby

       ORDERED ​that the automatic stay shall continue in force and effect as to all creditors

pending adjudication of the Motion.
